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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )           Case No. 4:08CR00697 ERW
                                                )
EVERETTE SIMMONS,                               )
                                                )
            Defendant.                          )


                                 MEMORANDUM AND ORDER

       This matter comes before the Court on the Report and Recommendation of United States

Magistrate Judge David D. Noce, pursuant to 28 U.S.C. § 636(b)(1) [doc. #57]. The Report

recommends that Defendant’s Motion for Severance [doc. #50] be denied. The Court notes that

no objections were filed to the Report and Recommendation. The Court concludes that the

Magistrate Judge’s findings were correct, and therefore adopts the Magistrate Judge’s findings of

facts and conclusions of law.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Severance [doc. #50] is

DENIED.

       Dated this 22nd Day of April, 2009.



                                                    ____________________________________
                                                    E. RICHARD WEBBER
                                                    UNITED STATES DISTRICT JUDGE
